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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 4:23-cv-208 AW/MAF

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed_R. Civ, P. 4 (V)

This summons for (name of individual and title, if any) Wilton Simpson, Commissioner of Agriculture
was received by me on(date) = 6/23/2023 si:

 

( I personally served the summons on the individual at (place)

 

on (date) 5 OF

 

[ I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

 

on (date) , and mailed a copy to the individual’s last known address; or
BI I served the summons on (name of individual) Jared Gardner, Senior Attorney , who is
designated by law to accept service of process on behalf of (name of organization) Florida Department of
Agriculture and Consumer Services on (date) 5/23/2023 ; OF
(1 I returned the summons unexecuted because ; or

 

O Other (specifi):

My fees are $ for travel and $ 7.50 for services, for a total of $ 7.50 0.00 ‘

I declare under penalty of perjury that this information is true.

Date: S/ Le }23 La

Server’s signature

 

Joseph Dye, Redistricting Intern

Printed name and title

 

ACLU of Florida, 336 E. College Ave. Ste. 203, Tallahassee, FL 32301

Server's address

 

Additional information regarding attempted service, etc:
